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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

SHARON K. McCOMB, et al.,

      Defendants.                                 Case No. 07-cr-40032-DRH


                                     ORDER

HERNDON, Chief Judge:

             Before the Court is Defendant Sharon McComb’s Motion to Continue

Sentencing (Doc. 246) which is currently set for June 13, 2008. A continuance is

sought because Defendant’s counsel has a scheduling conflict. For good cause

shown, Defendant’s Motion (Doc. 246) is GRANTED. The sentencing hearing for

defendant, Sharon McComb, is hereby rescheduled for Friday, June 20, 2008 at

10:30 a.m.

             IT IS SO ORDERED.

             Signed this 27th day of May, 2008.



                                            /s/   DavidRHerndon
                                            Chief Judge
                                            United States District Court
